                 FOR PUBLICATION

       UNITED STATES COURT OF APPEALS

              FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                  No. 23-912
                                             D.C. No.
            Plaintiff - Appellee,
                                          9:22-cr-00052-
                                              DLC-1
 v.

DEREK STEVEN TRUMBULL,
                                            OPINION
            Defendant - Appellant.

      Appeal from the United States District Court
               for the District of Montana
      Dana L. Christensen, District Judge, Presiding

           Argued and Submitted May 6, 2024
                  Seattle, Washington

                  Filed August 22, 2024

 Before: William A. Fletcher, Carlos T. Bea, and John B.
                Owens, Circuit Judges.

               Opinion by Judge Owens;
               Concurrence by Judge Bea
2                        USA V. TRUMBULL


                          SUMMARY *


                         Criminal Law

   The panel affirmed a sentence imposed on Derek Steven
Trumbull following his guilty plea to being a felon in
possession of a firearm.
    Trumbull challenged the district court’s calculation of
his Guidelines range—specifically, the increase of his
offense level under U.S.S.G. § 2K2.1(a)(4)(B) on the ground
that the offense involved a semiautomatic firearm that is
capable of accepting a large capacity magazine. Section
2K2.1 does not define a “semiautomatic firearm that is
capable of accepting a large capacity magazine,” but
Application Note 2 of the commentary to § 2K2.1 says it
means:

        a semiautomatic firearm that has the ability to
        fire many rounds without reloading because
        at the time of the offense (A) the firearm had
        attached to it a magazine or similar device
        that could accept more than 15 rounds of
        ammunition; or (B) a magazine or similar
        device that could accept more than 15 rounds
        of ammunition was in close proximity to the
        firearm.

   Trumbull did not dispute that the firearm he possessed, a
Glock 17 loaded with a magazine containing seventeen

*
 This summary constitutes no part of the opinion of the court. It has
been prepared by court staff for the convenience of the reader.
                       USA V. TRUMBULL                        3


rounds of nine-millimeter ammunition, fell within
Application Note 2. Instead, he attacked Application Note 2
on its face as an invalid interpretation of § 2K2.1 under Kisor
v. Wilkie, 588 U.S. 558 (2019).
    The panel held that Application Note 2’s definition of
“large capacity magazine” warrants deference under Kisor
because (1) the term “large capacity magazine” is
ambiguous within the meaning of Kisor because of the
relative nature of the word large; (2) Application Note 2 is a
reasonable interpretation of “large capacity magazine”; and
(3) Application Note 2 meets the three “especially important
markers for identifying” when deference is appropriate in
that (a) Application Note 2 is the Sentencing Commission’s
official position, (b) the interpretation implicates the
agency’s substantive expertise, and (c) Application Note 2
was an exercise of the Commission’s fair and considered
judgment.
   The panel therefore concluded that the district court did
not err in applying § 2K2.1(a)(4)(B), as interpreted by
Application Note 2, to Trumbull’s base offense level.
     Concurring in the judgment, Judge Bea disagreed with
the majority that Application Note 2 of the commentary to
§ 2K2.1 is entitled to deference under Kisor because, in his
view, the term “large capacity magazine” is not “genuinely
ambiguous.” Applying the traditional tools of construction
to interpret the term “large capacity magazine,” and applying
that term to the facts of this case, he concluded that the Glock
17 that Trumbull possessed at the time of the offense—
which could accept a magazine with 17 rounds of
ammunition—unambiguously qualifies as a “semiautomatic
firearm that is capable of accepting a large capacity
4                     USA V. TRUMBULL


magazine” as that term was understood when the current
version of § 2K2.1 was promulgated.


                        COUNSEL

Karla E. Painter (argued), Assistant United States Attorney,
District of Montaana; Jesse A. Laslovich, United States
Attorney; United States Department of Justice, United States
Attorney’s Office, Missoula, Montana; Tim Tatarka,
Assistant United States Attorney, United States Department
of Justice, United States Attorney’s Office, Billings,
Montana; for Plaintiff-Appellee.
John Rhodes (argued), Assistant Federal Public Defender;
Rachel Julagay, Federal Defender, District of Montana;
Federal Defenders of Montana (Missoula), Missoula,
Montana; for Defendant-Appellant.


                        OPINION

OWENS, Circuit Judge:

    Derek Steven Trumbull pled guilty to being a felon in
possession of a firearm in violation of 18 U.S.C. § 922(g)(1)
and received a below Guidelines sentence of twenty-four
months’ imprisonment, followed by a three-year term of
supervised release. He now challenges the calculation of his
Guidelines range—specifically, the increase of his base
offense level under U.S.S.G. § 2K2.1(a)(4)(B) (U.S. Sent’g
Comm’n 2023). We affirm.
                          USA V. TRUMBULL                              5


I.    BACKGROUND
    On March 8, 2022, a Missoula Motel 6 employee called
911 to report that a man had been passed out for over three
hours in a running vehicle in the parking lot. Officers arrived
to conduct a welfare check and found Derek Steven
Trumbull in the car with a Glock 17 on his hip. The firearm
was loaded with a magazine containing seventeen rounds of
nine-millimeter ammunition, and Trumbull was also
carrying two spare Glock magazines—one equipped with
the standard seventeen rounds of nine-millimeter
ammunition and the other with eighteen rounds of nine-
millimeter ammunition.
    Trumbull had multiple prior felony convictions. 1 On
October 26, 2022, he was indicted on federal felon-in-
possession charges. He pled guilty without a plea agreement
to one count of being a prohibited person in possession of a
firearm in violation of 18 U.S.C. § 922(g)(1).
     The Probation Office’s Presentence Investigation Report
(“PSR”) calculated Trumbull’s base offense level as twenty
under U.S.S.G. § 2K2.1 (U.S. Sent’g Comm’n 2023), which
is the Guideline for a violation of 18 U.S.C. § 922(g)(1).
Section 2K2.1 sets the base offense level at twenty if “the
(i) offense involved a (I) semiautomatic firearm that is

1
  Specifically, Trumbull had two felony convictions for burglary, a
felony conviction for attempted burglary, and a felony conviction for
issuing a bad check. He also had misdemeanor convictions for theft,
criminal trespass to a vehicle, conspiracy to commit theft, driving under
the influence, and criminal possession of drug paraphernalia.
  In the time between his arrest and indictment in this case, Trumbull
was arrested and charged in Montana state court with criminal
possession of dangerous drugs (a felony), criminal possession of drug
paraphernalia (a misdemeanor), and probation violations.
6                     USA V. TRUMBULL


capable of accepting a large capacity magazine . . . and (ii)
defendant (I) was a prohibited person at the time the
defendant committed the instant offense.” § 2K2.1(a)(4)(B)
(emphasis added). Section 2K2.1 does not define a
“semiautomatic firearm that is capable of accepting a large
capacity magazine,” but Application Note 2 of the
commentary to § 2K2.1 (“Application Note 2”) says it
means:

       a semiautomatic firearm that has the ability to
       fire many rounds without reloading because
       at the time of the offense (A) the firearm had
       attached to it a magazine or similar device
       that could accept more than 15 rounds of
       ammunition; or (B) a magazine or similar
       device that could accept more than 15 rounds
       of ammunition was in close proximity to the
       firearm.

§ 2K2.1 cmt. n.2.
   The PSR deducted three levels for Trumbull’s
acceptance of responsibility, so his total offense level was
seventeen. Based on Trumbull’s offense level of seventeen
and criminal history category of IV, his Guidelines range
was thirty-seven to forty-six months’ imprisonment.
    Trumbull objected to the PSR. He did not dispute that
the firearm he possessed fell within Application Note 2.
Instead, he attacked Application Note 2 on its face as an
invalid interpretation of § 2K2.1 under Kisor v. Wilkie, 588
U.S. 558 (2019). The district court overruled Trumbull’s
objection and applied § 2K2.1, as interpreted in Application
Note 2, in calculating Trumbull’s Guidelines range.
                           USA V. TRUMBULL                              7


    The district court sentenced Trumbull to a below
Guidelines sentence of twenty-four months’ imprisonment,
followed by a three-year term of supervised release, to run
concurrently with any sentences imposed in pending state
proceedings. Trumbull has finished serving his federal
prison term, and his federal supervised release will begin
once he is released from state custody.
    On appeal, Trumbull reasserts that Application Note 2 is
an invalid interpretation of the phrase “semiautomatic
firearm that is capable of accepting a large capacity
magazine” in § 2K2.1, and the district court erred by
adopting it.
II.    DISCUSSION
      A. Standard of Review and Kisor Deference
   We review a district court’s interpretation of the
Guidelines de novo. United States v. Castillo, 69 F.4th 648,
652 (9th Cir. 2023).
    The Supreme Court has said that the commentary to the
Guidelines “is akin to an agency’s interpretation of its own
legislative rules.” Stinson v. United States, 508 U.S. 36, 45
(1993). As a result, we apply Kisor v. Wilkie, 588 U.S. 558(2019), to determine whether to defer to the commentary’s
interpretation of a Guideline. 2 Castillo, 69 F.4th at 655–56.


2
  In Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244 (2024), the
Supreme Court overruled Chevron, U.S.A., Inc. v. Natural Resources
Defense Council, Inc., 467 U.S. 837 (1984), which “required courts to
defer to ‘permissible’ agency interpretations of the statutes those
agencies administer.” Loper Bright, 144 S. Ct. at 2254. The Supreme
Court did not call Kisor into question in Loper Bright (and in fact cited
it, see id. at 2261), and as the concurrence acknowledges did not overrule
it, so we continue to apply it.
8                      USA V. TRUMBULL


    B. Application Note 2’s Definition of “Large
       Capacity Magazine” Warrants Deference under
       Kisor
     Kisor held that a court should defer to an agency’s
interpretation of its own regulation if (1) the regulation is
“genuinely ambiguous” after “exhaust[ing] all the
‘traditional tools’ of construction”; (2) the interpretation is
“reasonable”; and (3) “the character and context of the
agency interpretation entitles it to controlling weight”
because (i) the interpretation is the agency’s “‘official
position,’ rather than any more ad hoc statement not
reflecting the agency’s views”; (ii) the interpretation
“implicate[s] [the agency’s] substantive expertise”; and
(iii) the interpretation reflects the agency’s “fair and
considered judgment.” 588 U.S. at 574–79 (citations
omitted). Application Note 2 satisfies these requirements.
    First, the term “large capacity magazine” is ambiguous
within the meaning of Kisor because of the relative nature of
the word “large.” In Entergy Corp. v. Riverkeeper, Inc., 556
U.S. 208 (2009), the Supreme Court considered whether to
defer to the Environmental Protection Agency’s
interpretation of the phrase “best technology available for
minimizing adverse environmental impact” under Chevron,
U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467
U.S. 837 (1984), overruled by Loper Bright Enters. v.
Raimondo, 144 S. Ct. 2244 (2024). Entergy Corp., 556 U.S.
at 218–19. Like Kisor, Chevron required ambiguity for
deference. Chevron, 467 U.S. at 842–43. In Entergy Corp.,
the Court applied Chevron and upheld the agency’s
interpretation after rejecting the argument that “minimizing”
conclusively meant “reducing to the smallest amount
possible” because “‘minimize’ is a term that admits of
degree and is not necessarily used to refer exclusively to the
                      USA V. TRUMBULL                      9


‘greatest possible reduction.’” Entergy Corp., 556 U.S. at
218–19.
    Like “minimize,” “large” is ambiguous because it
“admits of degree.” Id. at 219. The Oxford English
Dictionary Online defines “large” as “[g]reat in size,
amount, or degree; big; wide; full.” Large, Oxford English
Dictionary       Online,     https://www.oed.com/dictionary/
large_adj?tab=meaning_and_use#39730644 (last visited
July 29, 2024). “Large” is a comparative term. Whether a
magazine’s capacity is “large” may vary depending on the
context or the purpose for which the magazine is used. As a
result, there is “uncertaint[y]” about the meaning of “large
capacity magazine.” Kisor, 588 U.S. at 566.
    The structure of § 2K2.1 does not resolve this
uncertainty, nor do its history or purpose. The phrase “large
capacity magazine” was added to § 2K2.1 in 2006, when the
U.S. Sentencing Commission (“the Commission”) amended
§ 2K2.1 to delete cross-references to expired provisions of
the Violent Crime Control and Law Enforcement Act of
1994, Pub. L. No. 103–322, 108 Stat. 1796. U.S.S.G., Supp.
Appx. C. Amend. 691 (Nov. 1, 2006). The Violent Crime
Control and Law Enforcement Act of 1994 defined “large
capacity ammunition feeding device” as “a magazine . . . that
has a capacity of . . . more than 10 rounds of ammunition.”
Violent Crime Control and Law Enforcement Act of 1994
§ 110103(b) (formerly codified at 18 U.S.C. § 921(a)(31)).
This differing definition of “large capacity magazine” also
suggests that the phrase is ambiguous.
    Trumbull asserts that “large capacity magazine” is not
“ambiguous” under Kisor because “[t]he plain language
definition of large is ‘relatively great.’” Thus, Trumbull
concedes that “‘large’ is a relative measure” but suggests
10                        USA V. TRUMBULL


that this relativity is not enough for ambiguity within the
meaning of Kisor. We disagree. A vague or imprecise
regulation can be ambiguous under Kisor. See Rafferty v.
Denny’s, Inc., 13 F.4th 1166, 1181 (11th Cir. 2021)
(rejecting the argument that “when Kisor said a regulation
must have ‘multiple reasonable meanings,’ it required, for
the first time, that a regulation not be just ‘vague’ or lack
precision . . . but that it satisfy essentially a term-of-art
definition of ‘ambiguous’”). Accordingly, because “large
capacity magazine” is a relative term with a meaning that
may vary depending on the context, it is ambiguous under
Kisor.
    Second, Application Note 2 is a reasonable interpretation
of “large capacity magazine.” At least twelve states restrict
or regulate the possession of large capacity magazines, 3 and
three of those states define large capacity magazine as
Application Note 2 does. 4 Eight states restrict magazines
capable of accepting ten rounds of ammunition. 5 Only one

3
  Cal. Penal Code § 32310, held unconstitutional by Duncan v. Bonta,
695 F. Supp. 3d 1206, 1213 (S.D. Cal. 2023); Colo. Rev. Stat. § 18-12-
302; Conn. Gen. Stat. § 53-202x; Del. Code Ann. tit. 11, § 1469; Haw.
Rev. Stat. § 134-8; 720 Ill. Comp. Stat. 5/24-1.10; Mass. Gen. Laws ch.
140, § 131M; N.J. Stat. Ann. § 2C:39-3, held preempted on other
grounds in Fed. Law Enf’t Officers Ass’n v. Att’y Gen. N.J., 93 F.4th
122, 124 (3d. Cir. 2024); N.Y. Penal Law § 265.37 (originally setting the
floor at seven rounds but now setting it at ten rounds per N.Y. Penal Law
§ 265.00); 11 R.I. Gen. Laws § 11-47.1-3; Vt. Stat. Ann. tit. 13, § 4021;
Wash. Rev. Code § 9.41.370.
4
 Colo. Rev. Stat. § 18-12-301; 720 Ill. Comp. Stat. 5/24-1.10; Vt. Stat.
Ann. tit. 13, § 4021.
5
 Cal. Penal Code § 16740; Conn. Gen. Stat. § 53-202w(a)(1); Haw. Rev.
Stat. § 134-8; Mass. Gen. Laws ch. 140, § 121; N.J. Stat. Ann. § 2C:39-
1; N.Y. Penal Law § 265.00; 11 R.I. Gen. Laws § 11-47.1-2; Wash. Rev.
Code § 9.41.010.
                            USA V. TRUMBULL                        11


state sets the floor higher. 6 Likewise, Congress itself has
previously defined “large capacity ammunition feeding
device” as “a magazine . . . that has a capacity of . . . more
than 10 rounds of ammunition.” Violent Crime Control and
Law Enforcement Act of 1994 § 110103(b). Application
Note 2’s interpretation of “large capacity magazine” as more
than fifteen rounds “come[s] within the zone” of these other
definitions—somewhere between ten and seventeen rounds.
Kisor, 588 U.S. at 576.
    Trumbull contends that “large capacity magazine”
should be defined in relation to a standard capacity
magazine, and that standard capacity should, in turn, be
defined based on what is popular within the gun industry.
The popularity of a firearm with a seventeen-round capacity
does not defeat the reasonableness of Application Note 2.
Something can be both popular and large, such as the
standard capacity magazine of this popular firearm. But the
popularity of that firearm does not mean that a magazine that
can accept more than fifteen rounds is not also a “large
capacity magazine.”
    Trumbull also objects to the “numeric specificity” of
Application Note 2. He asserts that, by promulgating a
bright-line rule, the Commission was legislating rather than
interpreting. But Application Note 2 is a valid interpretive
rule because it “explain[s]” the Guidelines by specifying
what constitutes “large.” United States v. Kirilyuk, 29 F.4th
1128, 1138 (9th Cir. 2022). It does “not enact policy
changes to them.” Id. Consequently, Application Note 2’s
interpretation of “large capacity magazine” is reasonable.



6
    Del. Code Ann. tit. 11, § 1468 (more than seventeen rounds).
12                     USA V. TRUMBULL


    Finally, Application Note 2 meets the three “especially
important markers for identifying” when deference is
appropriate. Kisor, 588 U.S. at 576–77. First, the parties
agree that Application Note 2 is the Commission’s “official
position,” id. at 577 (quoting United States v. Mead Corp.,
533 U.S. 218, 257–59 &amp; n.6 (2001) (Scalia, J., dissenting)),
which weighs in favor of deference.
    Second, in assessing the relative dangerousness of
magazines of different capacities, the Commission acted
within the scope of its authority, see id. at 577–78, to
“establish sentencing policies and practices for the [f]ederal
criminal justice system,” 28 U.S.C. § 991(b)(1). Trumbull
argues that Application Note 2 does not implicate the
Commission’s substantive expertise because it “parrots the
statutory text” of the Violent Crime Control and Law
Enforcement Act of 1994. But Application Note 2 does not
“parrot the statutory text” because Application Note 2
provides a different (and more lenient) definition of large
capacity magazine than the Violent Crime Control and Law
Enforcement Act of 1994 did. Indeed, Application Note 2
sets a higher floor for “large capacity magazine.”
    Third, the Court in Kisor cautioned against deferring to
a “convenient litigating position” or “new interpretation . . .
that creates ‘unfair surprise’ to regulated parties.” 588 U.S.
at 579 (first quoting Christopher v. SmithKline Beecham
Corp., 567 U.S. 142, 155 (2012); and then quoting Long
Island Care at Home, Ltd. v. Coke, 551 U.S. 158, 170
(2007)). These concerns are not present here. While the
Commission is not required to submit commentary to notice
and comment or congressional review, the challenged
definition in Application Note 2 was, in fact, published in
the Federal Register with a “request[] [for] comment
regarding whether there is an alternative definition [the
                           USA V. TRUMBULL                             13


Commission] should consider,” see Sentencing Guidelines
for United States Courts, 71 Fed. Reg. 4782, 4789–90 (Jan.
27, 2006) (defining “[h]igh-capacity, semiautomatic
firearm” as “a semiautomatic firearm that has a magazine
capacity of more than [15] cartridges” (second alteration in
original)), and submitted to Congress for review, Sentencing
Guidelines for United States Courts, 71 Fed. Reg. 28063,
28069–71 (May 15, 2006). 7 These procedural steps support
that Application Note 2 was an exercise of the Commission’s


7
  Indeed, while “[c]ourts and commentators tend to justify treating
commentary as less authoritative than the guidelines in part on the
ground that ‘[u]nlike the Guidelines themselves, . . . commentary to the
Guidelines never passes through the gauntlets of congressional review or
notice and comment[,]’ . . . their premise is mistaken.” United States v.
Dupree, 57 F.4th 1269, 1280 (11th Cir. 2023) (en banc) (Pryor, C.J.,
concurring) (second and third alterations in original) (citation omitted).
“Unlike most agency interpretive rules, Guidelines commentary
ordinarily goes through the same notice-and-comment and congressional
review procedures as substantive guideline revisions,” so “the difference
between the Guidelines and the commentary ordinarily boils down to
labels and formatting.” Id. at 1280–81 (Pryor, C.J., concurring).
  See also U.S. Sent’g Comm’n, Rules of Practice &amp; Procedure, § 4.3
(“[T]he Commission will endeavor to provide, to the extent practicable,
comparable opportunities [to publication in the Federal Register and
public hearing procedure, as required by 28 U.S.C. § 994(x)], for public
input on proposed . . . commentary . . . .”); id., § 4.1 (“[T]o the extent
practicable, the Commission shall endeavor to include amendments
to . . . commentary in any submission of guideline amendments to
Congress and put them into effect on the same November 1 date as any
guideline amendments issued in the same year.”); John S. Acton, The
Future of Judicial Deference to the Commentary of the United States
Sentencing Guidelines, 45 Harv. J.L. &amp; Pub. Pol’y 349, 359 (2022)
(“Lower courts have largely overlooked this change in practice and often
mischaracterize the procedure that amendments to the commentary
receive . . . .”).
14                    USA V. TRUMBULL


“fair and considered judgment.” Kisor, 588 U.S. at 579
(quoting Christopher, 567 U.S. at 155).
III.     CONCLUSION
    Application Note 2’s interpretation of “large capacity
magazine” in § 2K2.1 meets the extensive requirements for
deference laid out in Kisor. Therefore, the district court did
not err in applying § 2K2.1(a)(4)(B), as interpreted by
Application Note 2, to Trumbull’s base offense level when
calculating his Guidelines range.
       AFFIRMED.


BEA, Circuit Judge, concurring in the judgment:

    I agree that the Glock 17 that Defendant-Appellant
Derek Trumbull possessed at the time of his offense qualifies
as a “semiautomatic firearm that is capable of accepting a
large capacity magazine” for purposes of enhancing his base
offense level under the Sentencing Guidelines. See U.S.S.G.
§ 2K2.1(a)(4)(B).
    But I do not agree that Application Note 2 of the
commentary to § 2K2.1 is entitled to deference under Kisor
v. Wilkie because, in my view, the term “large capacity
magazine” is not “genuinely ambiguous.” See Kisor v.
Wilkie, 588 U.S. 558, 573 (2019). “Large capacity
magazine” is not a term “genuinely susceptible to multiple
reasonable meanings,” unless the context in which it was
used were to include publications such as Time. See id. at
581 (emphasis added); Bowles v. Seminole Rock &amp; Sand Co.,
325 U.S. 410, 414 (1945) (deferring to an agency only “if
the meaning of the words used is in doubt” (emphasis
added)). All agree that the meaning of the term “large
                       USA V. TRUMBULL                        15


capacity magazine,” when used in relation to a firearm, is a
firearm magazine that is “[g]reat in size, amount, or degree.”
Large, Oxford English Dictionary. When, as here, a term has
an “unquestionable meaning,” it is not made ambiguous
merely because it has “uncertain application to various
factual situations.” Antonin Scalia &amp; Bryan A. Garner,
Reading Law: The Interpretation of Legal Texts 31 (2012).
People may disagree as to how many cartridges must fit into
a magazine to make it “large.” But disagreement does not
constitute ambiguity. And Kisor, which recognized the
“strong judicial role in interpreting rules,” puts the onus on
courts—not agencies—to interpret and apply unambiguous
rules like § 2K2.1, even if those rules are vague or imprecise.
See Kisor, 588 U.S. at 580.
    Rather than “wave the ambiguity flag” merely because
the “regulation [is] impenetrable on first read,” see id. at 575,
as the majority does today, I would “exhaust all the
‘traditional tools’ of construction” to interpret the term
“large capacity magazine” and apply that term to the facts of
this case, see id. (quoting Chevron U.S.A., Inc. v. Nat. Res.
Def. Council, Inc., 467 U.S. 837, 843 n.9 (1984), overruled
by Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244
(2024)). Here, the Glock 17 that Trumbull possessed at the
time of his offense—which could accept a magazine with 17
rounds of ammunition—unambiguously qualifies as a
“semiautomatic firearm that is capable of accepting a large
capacity magazine” as that term was understood when the
current version of § 2K2.1 was promulgated. See U.S.S.G.
§ 2K2.1(a)(4)(B). That should be the end of the matter. We
have “no business deferring to any other reading” when the
regulatory language applies unambiguously to the facts
before us. See Kisor, 588 U.S. at 575. After all, it “makes no
sense to speak of a ‘permissible’ interpretation that is not the
16                    USA V. TRUMBULL


one the court, after applying all relevant interpretive tools,
concludes is best.” Loper Bright, 144 S. Ct. at 2266.
    Accordingly, I agree that the district court’s sentencing
order should be affirmed. But the majority’s choice to assign
interpretive authority over the unambiguous language in
§ 2K2.1 to the Sentencing Commission “rests on a profound
misconception of the judicial role” and expands Kisor
deference far beyond its limited scope. See id. at 2268. I
therefore concur only in the judgment.
                              I.
                             A.
    In 1994, Congress enacted the Violent Crime Control
and Law Enforcement Act, Pub. L. No. 103–322, 108 Stat.
1796 (the “Act”). The Act made it unlawful to possess
specified firearms, as well as “large capacity ammunition
feeding devices,” which it defined as a “magazine . . . that
has a capacity of . . . more than 10 rounds of ammunition.”
Violent Crime Control and Law Enforcement Act,
§ 110103(b) (formerly codified at 18 U.S.C. § 922(a)(31)).
The Act also directed the Sentencing Commission to amend
the Sentencing Guidelines to provide for a sentencing
enhancement in cases in which a “semiautomatic firearm is
involved.” Id. § 110501.
    In response, the Sentencing Commission took two
actions. First, it amended § 2K2.1 to cross-reference the Act
and, in turn, to provide for an enhanced sentence in cases in
which an offender possessed a firearm specified in the Act.
U.S.S.G. § 2K2.1, Amend. 522 (Nov. 1995). Second, it
amended § 5K2.17 to “provide a specific basis for an upward
departure when a high-capacity semiautomatic firearm is
possessed.” U.S.S.G. § 5K2.17, Amend. 531 (Nov. 1995).
                      USA V. TRUMBULL                      17


Section 5K2.17, like the Act, defined the term “high-
capacity, semiautomatic firearm” as a firearm “that has a
magazine capacity of more than ten cartridges.” U.S.S.G.
§ 5K2.17 (1995).
    In 2004, Congress allowed the weapons prohibitions of
the Act to expire. Because § 2K2.1 had cross-referenced the
provisions of the Act, the Sentencing Commission amended
§ 2K2.1 to “clarify that the enhanced base offense levels
continued to apply in the wake of the sunset of the federal
assault weapons ban.” United States v. Gordillo, 920 F.3d
1292, 1298 (11th Cir. 2019); see U.S.S.G. § 2K2.1, Amend.
691 (Nov. 2006) (explaining that the Commission amended
§ 2K2.1 because it had “received information regarding
inconsistent application as to whether the enhanced base
offense levels apply . . . in light of the ban’s expiration”).
Accordingly, the Sentencing Commission deleted the cross-
reference to the Act and incorporated the language in effect
today: a base offense level enhancement applies if a
§ 922(g)(1) offender possessed a “semiautomatic firearm
that is capable of accepting a large capacity magazine.” See
U.S.S.G. § 2K2.1, Amend. 691. Section 2K2.1, however,
does not define the term “large capacity magazine.” Rather,
the Sentencing Commission issued Application Note 2 as
commentary to § 2K2.1. Application Note 2 provides:

       [A] “semiautomatic firearm that is capable of
       accepting a large capacity magazine” means
       a semiautomatic firearm that has the ability to
       fire many rounds without reloading because
       at the time of the offense (A) the firearm had
       attached to it a magazine or similar device
       that could accept more than 15 rounds of
       ammunition; or (B) a magazine or similar
18                    USA V. TRUMBULL


       device that could accept more than 15 rounds
       of ammunition was in close proximity to the
       firearm.

U.S.S.G. § 2K2.1, App. Note 2.
                             B.
    On March 8, 2022, Trumbull was arrested while in
possession of a Glock 17. The firearm was loaded with a
magazine containing 17 rounds of ammunition. Trumbull
was also carrying one magazine that contained 17 rounds of
ammunition and another that contained 18 rounds of
ammunition. Officers also recovered a magazine containing
31 rounds of ammunition in the trunk of Trumbull’s car.
Trumbull, who had multiple prior felony convictions, was
indicted under 18 U.S.C. § 922(g)(1), which makes it a crime
for any person to possess a firearm if he had previously been
convicted of at least one felony. Trumbull pleaded guilty.
    At sentencing, the district court afforded Kisor deference
to the commentary in Application Note 2 and enhanced
Trumbull’s base offense level from 14 to 20 pursuant to
§ 2K2.1. Specifically, the district court determined that
Trumbull possessed a “semiautomatic firearm that is capable
of accepting a large capacity magazine” under Application
Note 2, because the firearm he possessed at the time of his
offense “could accept more than 15 rounds of ammunition.”
U.S.S.G. § 2K2.1, App. Note 2. The district court imposed a
sentence of twenty-four months’ imprisonment, followed by
a three-year term of supervised release.
   On appeal, Trumbull argues that the district court erred
when it afforded Kisor deference to the commentary in
Application Note 2 to § 2K2.1.
                       USA V. TRUMBULL                      19


                              II.
    Because courts have primary interpretive authority over
questions of law, we review the district court’s interpretation
of the Sentencing Guidelines de novo. See United States v.
Rivera-Constantino, 798 F.3d 900, 902 (9th Cir. 2015). As
with any statute or regulation that comes before us, “[w]e
interpret the Sentencing Guidelines using the ordinary tools
of statutory interpretation.” United States v. Martinez, 870
F.3d 1163, 1166 (9th Cir. 2017).
    When the Sentencing Commission issues commentary
that purports to interpret the Sentencing Guidelines, we
apply the “demanding deference standard articulated in
Kisor” to evaluate whether to give weight to that
commentary. United States v. Castillo, 69 F.4th 648, 655
(9th Cir. 2023). Under Kisor, “the possibility of deference
can arise only if a regulation is genuinely ambiguous.” 588
U.S. at 573. Accordingly, if a Sentencing Guideline is
unambiguous, Kisor “makes it impermissible to defer” to the
commentary. Castillo, 69 F.4th at 663; see Kisor, 588 U.S.
at 574–75 (“If uncertainty does not exist, there is no
plausible reason for deference.”). The baseline of judicial
review stays in place, and it remains our duty to interpret the
Sentencing Guidelines, as in any other statutory
interpretation case. See Kisor, 588 U.S. at 580 (cabining the
scope of agency deference to genuinely ambiguous
regulations to “maintain[] a strong judicial role in
interpreting rules”).
   Accordingly, the threshold question under Kisor is
always whether a rule is “genuinely ambiguous.” Id. at 573.
No ambiguity, no deference. And a court may not merely
“wave the ambiguity flag just because it found the regulation
impenetrable on first read.” Id. at 575. Rather, “before
20                     USA V. TRUMBULL


concluding that a rule is genuinely ambiguous, a court must
exhaust all the ‘traditional tools’ of construction,” just as “it
would if it had no agency to fall back on.” Id. (quoting
Chevron, 467 U.S. at 843 n.9). In other words, Kisor requires
us to conduct a searching inquiry into the meaning of a rule
before assigning our interpretive authority—the core of the
judicial power—to an agency. See id. at 580–81.
                               A.
    The majority concludes that the term “large capacity
magazine” is ambiguous because the term “large” is relative,
vague, and imprecise. Maj. Op. at 8–10. I do not dispute that
characterization. But Kisor does not allow us to skirt our
judicial role any time a regulation is vague, relative, or
difficult to apply. See Kisor, 588 U.S. at 575 (“[H]ard
interpretive conundrums, even relating to complex rules, can
often be solved.”). Rather, it is our duty as judges to resolve
these uncertainties ourselves.
                               1.
    The majority’s assertion that § 2K2.1 is ambiguous
because the term “large capacity magazine” is “vague or
imprecise” overlooks the fundamental distinction between
ambiguity and vagueness. Maj. Op. at 10; see Brian H. Bix,
A Dictionary of Legal Theory 217 (2004) (“Vagueness
should not be confused with ambiguity.”). A term is
ambiguous “when the question is which of two or more
meanings applies,” such as whether “table” refers to
furniture or a mathematical chart. Scalia &amp; Garner, Reading
Law 31–32; see Robinson v. Shell Oil Co., 519 U.S. 337,
341, 343 (1997) (explaining that the “ambiguity of statutory
language is determined by reference to the language
                         USA V. TRUMBULL                          21


itself”) 1 . In contrast, a term is vague—not ambiguous—
when its “unquestionable meaning has uncertain application
to various factual situations.” Scalia &amp; Garner, Reading Law
32; see Rafferty v. Denny’s, Inc., 13 F.4th 1166, 1199 (11th
Cir. 2021) (Luck, J., concurring in the judgment) (noting the
“difference between more-than-one-meaning (ambiguity)
and uncertain application (vagueness)”). If a court can
deduce the meaning of the words after “performing [a]
thoroughgoing review,” the term is not ambiguous; it is
vague. See Kisor, 588 U.S. at 581. And Kisor deference
applies only to ambiguous rules, not to vague rules.
    The Supreme Court recognized as much in Kisor. There,
the Court reasoned that a term is ambiguous only if it is
“genuinely susceptible to multiple reasonable meanings.” Id.
And it cited Seminole Rock to clarify that a court may defer
to an agency “only ‘if the meaning of the words used is in
doubt.’” Id. at 574 (emphases added) (quoting Seminole
Rock, 325 U.S. at 414). In other words, Kisor deference
applies only when the meaning of the words used in the rule
is uncertain; not when their application is uncertain. See id.
at 573 (“[W]hen we use that term, we mean it—genuinely
ambiguous, even after a court has resorted to all the standard
tools of interpretation.”). When a rule’s application is
uncertain, courts retain the responsibility to interpret and
apply it, as in every other statutory interpretation case.
    Here, the words “large capacity magazine,” when used
in reference to firearms, are not “genuinely susceptible to
multiple reasonable meanings.” See id. at 581. We all agree

1
  In Robinson, for example, the Supreme Court reasoned that the
statutory term “employees” could have two plausible meanings: either
(1) current employees only, or (2) both former and current employees.
Robinson, 519 U.S. at 341–45.
22                    USA V. TRUMBULL


that the meaning of the term is a firearm magazine that is
“[g]reat in size, amount, or degree; big; wide; full.” Large,
Oxford English Dictionary. There is therefore no dispute
regarding “the meaning of the words used.” See Seminole
Rock, 325 U.S. at 414. The question, rather, is whether the
unambiguous language in § 2K2.1 applies to the firearm that
Trumbull possessed at the time of his arrest. That makes the
term “large capacity magazine” vague or imprecise, but not
ambiguous. And Kisor requires judges—not agencies—to
interpret and apply such vague but unambiguous rules. See
Kisor, 588 U.S. at 580–81.
                              2.
    In equating vagueness to ambiguity, the majority relies
on Entergy Corp. v. Riverkeeper, Inc., 556 U.S. 208 (2009),
where the Court applied the now-defunct Chevron doctrine.
Maj. Op. at 8–9. There, the Court held that the Clean Water
Act’s mandate that the Environmental Protection Agency set
standards that reflected “the best technology available for
minimizing adverse environmental impact” did not
“unambiguously preclude” the use of cost-benefit analysis.
Id. at 218–20. The majority reasons that the Court found the
term “minimize” to be ambiguous because it “admits of
degree.” Id. at 219. For two reasons, the majority is
mistaken.
    First, the Court in Entergy never determined that the term
minimize was ambiguous. To the contrary, the Court—
applying traditional tools of interpretation—held that the
word “minimize” in the Clean Water Act unambiguously
precluded the respondents’ assertion that the term “best
technology” included only those technologies that achieved
“the greatest possible reduction in environmental harm.” Id.
at 219. The Court considered the use of the term minimize
                      USA V. TRUMBULL                      23


“elsewhere in the Clean Water Act,” and concluded that,
“[i]f respondents’ definition of the term ‘minimize’ is
correct,” other portions of the Clean Water Act would be
“superfluous.” Id. Of course, the Surplusage Canon is one of
the “‘traditional tools’ of construction” that we must apply
before finding a term genuinely ambiguous. See Kisor, 588
U.S. at 575 (quoting Chevron, 467 U.S. at 843 n.9); see also
Scalia &amp; Garner, Reading Law 174 (explaining that, under
the Surplusage Canon, a word should not be given an
interpretation that causes another provision “to have no
consequence”). Thus, and with respect, the premise
underlying the majority’s understanding of ambiguity rests
on a misreading of Entergy.
    Second, in the wake of Loper Bright, the Chevron
analysis in Entergy is no longer valid. See Loper Bright, 144
S. Ct. at 2273 (“Chevron is overruled.”). To be sure, the
Court in Loper Bright did not “call into question prior cases
that relied on the Chevron framework.” Id. But the Court was
clear: this limitation applied only to prior holdings that
“specific agency actions are lawful,” pursuant to the doctrine
of “statutory stare decisis.” Id. (first emphasis added). The
Court acknowledged its “change in interpretive
methodology” meant that these precedents were “wrongly
decided,” but explained that mere error is “not enough to
justify overruling a statutory precedent.” Id. (quoting
Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258,
266 (2014)). For future cases, however, the Court stated:
“Courts must exercise their independent judgment in
deciding whether an agency has acted within its statutory
authority, as the APA requires.” Id.; see also id. at 2271
(“[T]he basic nature and meaning of a statute does not
change when an agency happens to be involved. . . . The
statute still has a best meaning, necessarily discernible by a
24                     USA V. TRUMBULL


court deploying its full interpretive toolkit.”). The majority’s
understanding of ambiguity, then, depends exclusively on a
case with no precedential value.
     In sum, the majority is incorrect that a term is ambiguous
under Kisor merely because it is vague or “impenetrable on
first read.” See Kisor, 588 U.S. at 575. Except for those cases
in which the words used are “genuinely susceptible to
multiple reasonable meanings,” it remains our duty to apply
such vague and indefinite regulations to the facts before us,
as we do all the time. See id. at 581. And here, the term “large
capacity magazine” in § 2K2.1 has only one plausible
meaning. Respectfully, the majority’s choice to disregard
our interpretive duties and assign them to the Sentencing
Commission expands Kisor far beyond its intended scope.
                              B.
    The majority’s expansion of Kisor deference is
particularly troubling considering the Supreme Court’s
recent decision in Loper Bright. Although I acknowledge
that Loper Bright did not expressly overrule Kisor, the
majority is mistaken to brush Loper Bright aside and treat it
as irrelevant to the interpretation of regulatory language.
Maj. Op. at 7 n.2. The Court in Loper Bright made clear that
courts cannot merely “throw up their hands,” as the majority
does today, when a term is difficult to apply. See Loper
Bright, 144 S. Ct. at 2266. Indeed, Loper Bright questioned
whether ambiguity can even serve as a valid benchmark
when it comes to a court’s interpretive role. As the Court put
it:

       Ambiguity is a term that may have different
       meanings for different judges. One judge
       might see ambiguity everywhere; another
                       USA V. TRUMBULL                        25


       might never encounter it. A rule of law that is
       so wholly in the eye of the beholder invites
       different results in like cases and is therefore
       arbitrary in practice. Such an impressionistic
       and malleable concept cannot stand as an
       every-day test for allocating interpretive
       authority between courts and agencies.

Id. at 2270–71 (citations and internal quotations omitted).
     The Court in Loper Bright, moreover, reasoned that
“statutes, no matter how impenetrable, do—in fact, must—
have a single, best meaning.” Id. at 2266. It also explained
that it “makes no sense to speak of a ‘permissible’
interpretation that is not the one the court, after applying all
relevant interpretive tools, concludes is best,” because “if it
is not the best, it is not permissible.” Id. Of course, those
“interpretive tools” are the same tools the Court told us to
exhaust in in Kisor before finding a regulation ambiguous.
Compare id. (noting the “very point of the traditional tools
of statutory construction—the tools courts use every day—
is to resolve statutory ambiguities”), with Kisor, 588 U.S. at
575 (explaining a court “must exhaust all the traditional tools
of construction” “before concluding that a rule is genuinely
ambiguous” (internal quotations omitted)). Loper Bright,
then, reiterated the searching inquiry that we must undertake
before deferring to an agency under Kisor.
    After the Court’s landmark decision in Loper Bright, we
should hesitate to expand Kisor deference beyond those
cases in which “the meaning of the words used is in doubt.”
See Seminole Rock, 325 U.S. at 414; Kisor, 588 U.S. at 575,
581. In all other cases, such as this one, the regulation “just
means what it means—and the court must give it effect, as
the court would any law.” Kisor, 588 U.S. at 575.
26                    USA V. TRUMBULL


                             III.
    Because § 2K2.1 is unambiguous, I would independently
interpret the term “semiautomatic firearm that is capable of
accepting a large capacity magazine,” and determine
whether the Glock 17 that Trumbull possessed at the time of
his offense qualifies. See U.S.S.G.§ 2K2.1(a)(4)(B). This
analysis requires the use of the “ordinary tools of statutory
interpretation,” Martinez, 870 F.3d at 1166, which “begin[s]
and end[s] with the text and structure of the Guidelines,”
United States v. Joey, 845 F.3d 1291, 1297 n.8 (9th Cir.
2017) (internal quotations omitted). We may also consider
“the context of the[] words” in light of the backdrop at the
time the rule was enacted. See United States v. Hansen, 599
U.S. 762, 775 (2023); Scalia &amp; Garner, Reading Law 167
(“Context is a primary determinant of meaning.”). Here, the
analysis of the text and structure, along with the context in
which § 2K2.1 was promulgated, compels one conclusion:
Trumbull’s Glock 17, which had the capacity to accept 17
rounds, unambiguously qualifies as a “semiautomatic
firearm that is capable of accepting a large capacity
magazine.” See U.S.S.G. § 2K2.1(a)(4)(B).
    First, the current version of § 2K2.1 “was expressly
modeled on its . . . predecessor” and, therefore, brought “the
old soil with it.” See Hall v. Hall, 584 U.S. 59, 72–73 (2018)
(quoting Felix Frankfurter, Some Reflections on the Reading
of Statutes, 47 Colum. L. Rev. 527, 537 (1947)). As I have
explained, § 2K2.1 previously cross-referenced the Violent
Crime Control Law Enforcement Act of 1994. That Act had
prohibited the possession of a “large capacity ammunition
feeding device,” defined as a “magazine” that has a
“capacity of . . . more than 10 rounds of ammunition.” 18
U.S.C. § 921(a)(31). Prior to the 2006 amendments,
moreover, U.S.S.G. § 5K2.17 provided for a sentencing
                      USA V. TRUMBULL                      27


enhancement when the offender possessed a “high-capacity
semiautomatic firearm,” which was similarly defined as a
firearm that has a “magazine capacity of more than ten
cartridges.”
    After the Act expired in 2004, the Commission amended
§ 2K2.1 and § 5K2.17 because Congress had allowed the
cross-referenced Act to expire. In its “Reason for
Amendment,” the Commission explained that it had
“received information regarding inconsistent application as
to whether the enhanced base offense levels apply . . . in
light of the ban’s expiration.” U.S.S.G. § 2K2.1, Amend.
691. The Commission therefore opted to “replace[] the
reference [to the Act] with the term, ‘a semiautomatic
firearm that is capable of accepting a large capacity
magazine.’” Id.
    When this context is considered, the 2006 amendment—
which merely replaced the cross-references to the Act and
did not include any new definitions—did not make any
substantive changes. See Gordillo, 920 F.3d at 1298(explaining that the “2006 amendments [to § 2K2.1] were
intended to clarify that the enhanced base offense levels
continued to apply”); cf. Hansen, 599 U.S. at 775–78
(considering context and concluding that, when Congress
removed words in a statute but left intact similar words, the
change was “best understood as a continuation of the past,
not a sharp break from it”). Instead, the term “large capacity
magazine” is “obviously transplanted from another legal
source”—the Act and the prior version of § 5K2.17—and,
therefore, “brings the old soil with it.” See Taggart v.
Lorenzen, 587 U.S. 554, 560 (2019) (quoting Hall, 584 U.S.
at 73); Scalia &amp; Garner, Reading Law 322 (explaining that if
a term has been given a “uniform interpretation by . . . the
responsible agency, a later version of that act perpetuating
28                         USA V. TRUMBULL


the wording is presumed to carry forward that
interpretation”); id. at 323 (“[W]hen a statute uses the very
same terminology as an earlier statute—especially in the
very same field . . .—it is reasonable to believe that the
terminology bears a consistent meaning”); Erlenbaugh v.
United States, 409 U.S. 239, 244 (1972) (“[W]henever
Congress passes a new statute, it acts aware of all previous
statutes on the same subject.”). Under this “longstanding
interpretive principle,” the pre-existing definition was
merely incorporated into § 2K2.1. See Taggart, 587 U.S. at
560. And with that understanding, Trumbull’s Glock 17
qualifies as a “semiautomatic firearm that is capable of
accepting a large capacity magazine,” as that term was
understood when § 2K2.1 was amended, because it could
accept more than 10 rounds of ammunition. 2 See 18 U.S.C.
§ 922(a)(31) (repealed); U.S.S.G. § 5K2.17 (amended).
    Second, there is overwhelming evidence that the
common understanding of the term “large capacity
magazine” encompasses magazines that can accept 17
rounds of ammunition. As the majority recognizes, at least
12 states restrict the possession of large capacity magazines.
Maj. Op. at 10. Eight of those states define the term as a
magazine that has the capacity to accept more than 10 rounds
of ammunition. See Cal. Penal Code § 16740; Conn. Gen.
Stat. Ann. § 53-202w(a)(1); Haw. Rev. Stat. Ann. § 134-8;
Mass. Gen. Laws Ann. ch. 140, § 121; N.J. Stat. Ann.

2
  Although Application Note 2’s definition of “large capacity magazine”
is narrower than the prior definitions—as it applies only to firearms that
can accept more than 15 rounds of ammunition—we have held that
“Guidelines commentary need not be followed when it establishes a
‘narrowing’ construction not ‘found in the Guideline text.’” United
States v. Kirilyuk, 29 F.4th 1128, 1137 (9th Cir. 2022) (quoting United
States v. Lambert, 498 F.3d 963, 971 (9th Cir. 2007)).
                      USA V. TRUMBULL                     29


§ 2C:39-1; N.Y. Penal Law § 265.00; 11 R.I. Gen. Laws
§ 11-47.1-3; Wash. Rev. Code Ann. § 9.41.010(25). And 3
define the term to include those handgun magazines that can
accept more than 15 rounds of ammunition. See Colo. Rev.
Stat. § 18-12-301; 720 Ill. Comp. Stat. Ann. 5/24-1.10; Vt.
Stat. Ann. tit. 13, § 4021. Under any of these definitions,
Trumbull’s 17-capacity magazine falls within the scope of
the term “large capacity magazine” as that term has been
long understood.
    Considering the regulatory context, a semiautomatic
firearm that can accept 17 rounds of ammunition, such as the
Glock 17 that Trumbull possessed at the time of his offense,
unambiguously constitutes a “semiautomatic firearm that is
capable of accepting a large capacity magazine” for purposes
of    the     Sentencing     Guidelines.    See     U.S.S.G.
§ 2K2.1(a)(4)(B). Accordingly, the district court did not err
when it enhanced Trumbull’s base offense level pursuant to
§ 2K2.1(a)(4)(B).
                      *      *       *
    In sum, the majority is mistaken to defer to the
Sentencing Commission’s commentary in Application Note
2 because the language of § 2K2.1 is not “genuinely
ambiguous.” See Kisor, 588 U.S. at 573–75. Nonetheless,
the Glock 17 that Trumbull possessed at the time of his
offense falls unambiguously within the meaning of the term
“semiautomatic firearm that is capable of accepting a large
capacity magazine” as that term was understood when
§ 2K2.1 was promulgated. U.S.S.G. § 2K2.1(a)(4)(B). The
district court, therefore, properly enhanced Trumbull’s base
offense level for sentencing purposes pursuant to
§ 2K2.1(a)(4)(B).
   For the foregoing reasons, I concur only in the judgment.
